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                     EXHIBIT 4
                     Serviporno
                 Hosting Information
2/4/2016            Case 2:15-cv-01673-JCM-GWF                  Document
                                 Hosting History for Serviporno.com              22-4
                                                                    - View historical       Filedname
                                                                                      IP addresses, 02/08/16        Page 2 of 13
                                                                                                      servers, and registrars




    Home > Hosting History > Serviporno.com



    Hosting History for Serviporno.com
    Enter any domain name and Hosting History will list IP address, name server and registrar history. If a
    domain name has changed its web host or transferred its domain name to another registrar you will be
    able to see the old value, the new value, and when the event happened. Note: Hosting History covers
    domains in the TLDs com, net, org, biz, us, and info only.




           Lookup the Hosting History of a Domain

             serviporno.com


                                                                              LOOKUP




    IP Address History
     Event Date                      Action                                   Pre­Action IP              Post­Action IP

     2004­04­24                      Not Resolvable                           69.41.224.34               ­none­

     2004­05­04                      New                                      ­none­                     65.125.227.106

     2004­10­31                      Change                                   65.125.227.106             67.19.135.34

     2004­11­13                      Not Resolvable                           67.19.135.34               ­none­

     2005­02­26                      New                                      ­none­                     63.247.78.250

     2005­03­26                      Change                                   63.247.78.250              70.84.192.18

     2007­03­15                      Change                                   70.84.192.18               212.227.34.3

     2007­06­03                      Change                                   212.227.34.3               82.98.86.165

     2011­03­07                      Change                                   82.98.86.165               72.52.4.90

     2011­03­18                      Change                                   72.52.4.90                 82.98.86.165

     2011­04­10                      New                                      ­none­                     82.98.86.165

     2011­09­18                      Change                                   82.98.86.165               72.52.4.90
https://research.domaintools.com/research/hosting-history/?q=serviporno.com                                                        1/3
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                                 Hosting History for Serviporno.com              22-4
                                                                    - View historical       Filedname
                                                                                      IP addresses, 02/08/16        Page 3 of 13
                                                                                                      servers, and registrars


     2011­10­01                      Not Resolvable                           72.52.4.90                 ­none­

     2012­01­26                      New                                      ­none­                     109.123.126.18

     2012­10­07                      Change                                   109.123.126.18             67.222.143.42

     2013­06­12                      Change                                   67.222.143.42              108.162.203.250

     2014­01­12                      Change                                   108.162.203.250            162.159.240.182

     2015­10­16                      Change                                   162.159.240.182            104.25.18.32


    Note: The current IP location and IP Whois may not be the same as it was on the event date.


    Registrar History
     Date                                                          Registrar

     2003­03­28                                                    Wild West Domains

     2009­01­14                                                    OVH

     2009­12­12                                                    Internet.bs Corp.

     2011­02­21                                                    China­Channel.com

     2011­09­27                                                    eNom.com

     2013­04­22                                                    Bindrop LLC

     2013­04­26                                                    EuroDNS S.A.



    Name Server History
     Event Date                  Action               Pre­Action Server                         Post­Action Server

     2002­03­13                  Transfer             Firstdns.com                              Validname.com

     2002­12­02                  Delete               Validname.com                             ­none­

     2003­02­23                  New                  ­none­                                    Secureserver.net

     2003­03­12                  Transfer             Secureserver.net                          Wwwroot4.net

     2003­03­29                  Transfer             Wwwroot4.net                              Nethostco.com

     2003­08­25                  Transfer             Nethostco.com                             Servisexo.com

     2004­05­04                  Transfer             Servisexo.com                             Securedtechnologies.com

     2005­02­26                  Transfer             Securedtechnologies.com                   Host.org

     2007­03­15                  Transfer             Host.org                                  Sedoparking.com

     2011­09­28                  Transfer             Sedoparking.com                           Hostingrapido.com

     2012­08­07                  Transfer             Hostingrapido.com                         Nettica.com

https://research.domaintools.com/research/hosting-history/?q=serviporno.com                                                        2/3
2/4/2016            Case 2:15-cv-01673-JCM-GWF                  Document
                                 Hosting History for Serviporno.com              22-4
                                                                    - View historical       Filedname
                                                                                      IP addresses, 02/08/16        Page 4 of 13
                                                                                                      servers, and registrars

     2013­06­13                  Transfer             Nettica.com                                  Cloudflare.com




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https://research.domaintools.com/research/hosting-history/?q=serviporno.com                                                          3/3
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                                           104.25.18.32             22-4
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                                                                         | DomainTools.com




    Home > Whois Lookup > 104.25.18.32



    IP Information for 104.25.18.32
    ~ Quick Stats

     IP Location                     United States Phoenix Cloudflare Inc.

     ASN                             AS13335 CLOUDFLARENET ­ CloudFlare, Inc. (registered Jul 14, 2010)

     Whois Server               whois.arin.net

     IP Address                 104.25.18.32

     Reverse IP                 21 websites use this address.


      NetRange:                       104.16.0.0 - 104.31.255.255
      CIDR:                           104.16.0.0/12
      NetName:                        CLOUDFLARENET
      NetHandle:                      NET-104-16-0-0-1
      Parent:                         NET104 (NET-104-0-0-0-0)
      NetType:                        Direct Assignment
      OriginAS:                       AS13335
      Organization:                   CloudFlare, Inc. (CLOUD14)
      RegDate:                        2014-03-28
      Updated:                        2015-10-01
      Comment:                        https://www.cloudflare.com
      Ref:                            http://whois.arin.net/rest/net/NET-104-16-0-0-1

      OrgName:                        CloudFlare, Inc.
      OrgId:                          CLOUD14
      Address:                        101 Townsend Street
      City:                           San Francisco
      StateProv:                      CA
      PostalCode:                     94107
      Country:                        US
      RegDate:                        2010-07-09
      Updated:                        2015-10-08
      Comment:                        http://www.cloudflare.com/
      Ref:                            http://whois.arin.net/rest/org/CLOUD14

      OrgNOCHandle:               NOC11962-ARIN
      OrgNOCName:                 NOC
      OrgNOCPhone:                +1-650-319-8930
      OrgNOCEmail:                noc@cloudflare.com
      OrgNOCRef:                  http://whois.arin.net/rest/poc/NOC11962-ARIN

      OrgTechHandle: ADMIN2521-ARIN
      OrgTechName:   Admin
https://whois.domaintools.com/104.25.18.32                                                                  1/2
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                                           104.25.18.32             22-4
                                                        IP Address Whois      Filed 02/08/16 Page 6 of 13
                                                                         | DomainTools.com
      OrgTechPhone:                 +1-650-319-8930
      OrgTechEmail:                 admin@cloudflare.com
      OrgTechRef:                   http://whois.arin.net/rest/poc/ADMIN2521-ARIN

      OrgAbuseHandle:                 ABUSE2916-ARIN
      OrgAbuseName:                   Abuse
      OrgAbusePhone:                  +1-650-319-8930
      OrgAbuseEmail:                  abuse@cloudflare.com
      OrgAbuseRef:                    http://whois.arin.net/rest/poc/ABUSE2916-ARIN

      RAbuseHandle:               ABUSE2916-ARIN
      RAbuseName:                 Abuse
      RAbusePhone:                +1-650-319-8930
      RAbuseEmail:                abuse@cloudflare.com
      RAbuseRef:                  http://whois.arin.net/rest/poc/ABUSE2916-ARIN

      RNOCHandle:             NOC11962-ARIN
      RNOCName:               NOC
      RNOCPhone:              +1-650-319-8930
      RNOCEmail:              noc@cloudflare.com
      RNOCRef:                http://whois.arin.net/rest/poc/NOC11962-ARIN

      RTechHandle:              ADMIN2521-ARIN
      RTechName:                Admin
      RTechPhone:               +1-650-319-8930
      RTechEmail:               admin@cloudflare.com
      RTechRef:                 http://whois.arin.net/rest/poc/ADMIN2521-ARIN



    Tools

     Monitor Domain Properties                                                                              Ú

     Reverse IP Address Lookup                                                                              Ú

     Network Tools                                                                                          Ú




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https://whois.domaintools.com/104.25.18.32                                                                         2/2
2/4/2016           Case 2:15-cv-01673-JCM-GWF        Document
                                          162.15 .240.182            22-4| DomainTools.com
                                                          IP Address Whois   Filed 02/08/16 Page 7 of 13




    Home > Whois Lookup > 162.159.240.182



    IP Information for 162.159.240.182
    ~ Quick Stats

     IP Location                     United States Los Angeles Cloudflare Inc.

     ASN                             AS13335 CLOUDFLARENET ­ CloudFlare, Inc. (registered Jul 14, 2010)

     Whois Server              whois.arin.net

     IP Address                162.159.240.182

     Reverse IP                1 website uses this address.


      NetRange:                       162.158.0.0 - 162.159.255.255
      CIDR:                           162.158.0.0/15
      NetName:                        CLOUDFLARENET
      NetHandle:                      NET-162-158-0-0-1
      Parent:                         NET162 (NET-162-0-0-0-0)
      NetType:                        Direct Assignment
      OriginAS:                       AS13335
      Organization:                   CloudFlare, Inc. (CLOUD14)
      RegDate:                        2013-05-23
      Updated:                        2015-10-01
      Ref:                            http://whois.arin.net/rest/net/NET-162-158-0-0-1

      OrgName:                        CloudFlare, Inc.
      OrgId:                          CLOUD14
      Address:                        101 Townsend Street
      City:                           San Francisco
      StateProv:                      CA
      PostalCode:                     94107
      Country:                        US
      RegDate:                        2010-07-09
      Updated:                        2015-10-08
      Comment:                        http://www.cloudflare.com/
      Ref:                            http://whois.arin.net/rest/org/CLOUD14

      OrgNOCHandle:               NOC11962-ARIN
      OrgNOCName:                 NOC
      OrgNOCPhone:                +1-650-319-8930
      OrgNOCEmail:                noc@cloudflare.com
      OrgNOCRef:                  http://whois.arin.net/rest/poc/NOC11962-ARIN

      OrgAbuseHandle: ABUSE2916-ARIN
      OrgAbuseName:   Abuse
      OrgAbusePhone: +1-650-319-8930
https://whois.domaintools.com/162.15 .240.182                                                              1/2
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                                          162.15 .240.182            22-4| DomainTools.com
                                                          IP Address Whois   Filed 02/08/16 Page 8 of 13
      OrgAbuseEmail:                  abuse@cloudflare.com
      OrgAbuseRef:                    http://whois.arin.net/rest/poc/ABUSE2916-ARIN

      OrgTechHandle:                ADMIN2521-ARIN
      OrgTechName:                  Admin
      OrgTechPhone:                 +1-650-319-8930
      OrgTechEmail:                 admin@cloudflare.com
      OrgTechRef:                   http://whois.arin.net/rest/poc/ADMIN2521-ARIN

      RNOCHandle:             NOC11962-ARIN
      RNOCName:               NOC
      RNOCPhone:              +1-650-319-8930
      RNOCEmail:              noc@cloudflare.com
      RNOCRef:                http://whois.arin.net/rest/poc/NOC11962-ARIN

      RTechHandle:              ADMIN2521-ARIN
      RTechName:                Admin
      RTechPhone:               +1-650-319-8930
      RTechEmail:               admin@cloudflare.com
      RTechRef:                 http://whois.arin.net/rest/poc/ADMIN2521-ARIN

      RAbuseHandle:               ABUSE2916-ARIN
      RAbuseName:                 Abuse
      RAbusePhone:                +1-650-319-8930
      RAbuseEmail:                abuse@cloudflare.com
      RAbuseRef:                  http://whois.arin.net/rest/poc/ABUSE2916-ARIN



    Tools

     Monitor Domain Properties                                                                             Ú

     Reverse IP Address Lookup                                                                             Ú

     Network Tools                                                                                         Ú




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https://whois.domaintools.com/162.15 .240.182                                                                      2/2
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                                          108.162.203.250            22-4| DomainTools.com
                                                          IP Address Whois   Filed 02/08/16 Page 9 of 13




    Home > Whois Lookup > 108.162.203.250



    IP Information for 108.162.203.250
    ~ Quick Stats

     IP Location                     United States Los Angeles Cloudflare Inc.

     ASN                             AS13335 CLOUDFLARENET ­ CloudFlare, Inc. (registered Jul 14, 2010)

     Whois Server              whois.arin.net

     IP Address                108.162.203.250

     Reverse IP                1 website uses this address.


      NetRange:                       108.162.192.0 - 108.162.255.255
      CIDR:                           108.162.192.0/18
      NetName:                        CLOUDFLARENET
      NetHandle:                      NET-108-162-192-0-1
      Parent:                         NET108 (NET-108-0-0-0-0)
      NetType:                        Direct Assignment
      OriginAS:                       AS13335
      Organization:                   CloudFlare, Inc. (CLOUD14)
      RegDate:                        2011-10-28
      Updated:                        2012-03-02
      Comment:                        http://www.cloudflare.com
      Ref:                            http://whois.arin.net/rest/net/NET-108-162-192-0-1

      OrgName:                        CloudFlare, Inc.
      OrgId:                          CLOUD14
      Address:                        101 Townsend Street
      City:                           San Francisco
      StateProv:                      CA
      PostalCode:                     94107
      Country:                        US
      RegDate:                        2010-07-09
      Updated:                        2015-10-08
      Comment:                        http://www.cloudflare.com/
      Ref:                            http://whois.arin.net/rest/org/CLOUD14

      OrgNOCHandle:               NOC11962-ARIN
      OrgNOCName:                 NOC
      OrgNOCPhone:                +1-650-319-8930
      OrgNOCEmail:                noc@cloudflare.com
      OrgNOCRef:                  http://whois.arin.net/rest/poc/NOC11962-ARIN

      OrgTechHandle: ADMIN2521-ARIN
      OrgTechName:   Admin
https://whois.domaintools.com/108.162.203.250                                                              1/2
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                                         108.162.203.250 IP Address 22-4     Filed 02/08/16 Page 10 of 13
                                                                    Whois | DomainTools.com
      OrgTechPhone:                 +1-650-319-8930
      OrgTechEmail:                 admin@cloudflare.com
      OrgTechRef:                   http://whois.arin.net/rest/poc/ADMIN2521-ARIN

      OrgAbuseHandle:                 ABUSE2916-ARIN
      OrgAbuseName:                   Abuse
      OrgAbusePhone:                  +1-650-319-8930
      OrgAbuseEmail:                  abuse@cloudflare.com
      OrgAbuseRef:                    http://whois.arin.net/rest/poc/ABUSE2916-ARIN

      RTechHandle:              ADMIN2521-ARIN
      RTechName:                Admin
      RTechPhone:               +1-650-319-8930
      RTechEmail:               admin@cloudflare.com
      RTechRef:                 http://whois.arin.net/rest/poc/ADMIN2521-ARIN

      RAbuseHandle:               ABUSE2916-ARIN
      RAbuseName:                 Abuse
      RAbusePhone:                +1-650-319-8930
      RAbuseEmail:                abuse@cloudflare.com
      RAbuseRef:                  http://whois.arin.net/rest/poc/ABUSE2916-ARIN

      RNOCHandle:             NOC11962-ARIN
      RNOCName:               NOC
      RNOCPhone:              +1-650-319-8930
      RNOCEmail:              noc@cloudflare.com
      RNOCRef:                http://whois.arin.net/rest/poc/NOC11962-ARIN



    Tools

     Monitor Domain Properties                                                                              Ú

     Reverse IP Address Lookup                                                                              Ú

     Network Tools                                                                                          Ú




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https://whois.domaintools.com/108.162.203.250                                                                      2/2
2/4/2016          Case 2:15-cv-01673-JCM-GWF               Document 22-4IP Address
                                 67.222.143.42/67.222.143.42.tailormadeservers.com FiledWhois
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                                                                                              | DomainTools.com




    Home > Whois Lookup > 67.222.143.42



    IP Information for 67.222.143.42
    ~ Quick Stats

     IP Location                     United States Dallas Hosting Rapido Slu

     ASN                             AS30496 COLO4 ­ Colo4, LLC (registered Oct 21, 2003)

     Resolve        ost         67.222.143.42.tailormadeservers.com

     Whois Server               whois.arin.net

     IP Address                 67.222.143.42


      NetRange:        67.222.143.10 - 67.222.143.65
      CIDR:            67.222.143.12/30, 67.222.143.64/31, 67.222.143.10/31, 67.22
      2.143.32/27,
      67.222.143.16/28
      NetName:         HOSTIN -RAPIDO-SLUNET
      NetHandle:       NET-67-222-143-10-1
      Parent:          DF -DATACENTER (NET-67-222-128-0-1)
      NetType:         Reassigned
      OriginAS:        AS30277
      Customer:        Hosting Rapido SLU (C03383586)
      RegDate:         2013-04-26
      Updated:         2013-04-26
      Comment:         Spanish spea ing -)
      Ref:             http://whois.arin.net/rest/net/NET-67-222-143-10-1

      CustName:                       Hosting Rapido SLU
      Address:                         eronimo Arroyo 13 ba o
      City:                           Palencia
      StateProv:
      PostalCode:                     34004
      Country:                        ES
      RegDate:                        2013-04-26
      Updated:                        2013-04-26
      Ref:                            http://whois.arin.net/rest/customer/C03383586

      OrgTechHandle:                DF DA-ARIN
      OrgTechName:                  DF Datacenter
      OrgTechPhone:                 +1-214-774-2513
      OrgTechEmail:                 sales@dfw-datacenter.com
      OrgTechRef:                   http://whois.arin.net/rest/poc/DF DA-ARIN

      OrgAbuseHandle: DF DA-ARIN
      OrgAbuseName:   DF Datacenter
https://whois.domaintools.com/67.222.143.42                                                                             1/3
2/4/2016          Case 2:15-cv-01673-JCM-GWF               Document 22-4IP Address
                                 67.222.143.42/67.222.143.42.tailormadeservers.com FiledWhois
                                                                                         02/08/16       Page 12 of 13
                                                                                              | DomainTools.com
      OrgAbusePhone:                  +1-214-774-2513
      OrgAbuseEmail:                  sales@dfw-datacenter.com
      OrgAbuseRef:                    http://whois.arin.net/rest/poc/DF DA-ARIN

      RTechHandle:              DF DA-ARIN
      RTechName:                DF Datacenter
      RTechPhone:               +1-214-774-2513
      RTechEmail:               sales@dfw-datacenter.com
      RTechRef:                 http://whois.arin.net/rest/poc/DF DA-ARIN

      RNOCHandle:             DF DA-ARIN
      RNOCName:               DF Datacenter
      RNOCPhone:              +1-214-774-2513
      RNOCEmail:              sales@dfw-datacenter.com
      RNOCRef:                http://whois.arin.net/rest/poc/DF DA-ARIN

      RAbuseHandle:               DF DA-ARIN
      RAbuseName:                 DF Datacenter
      RAbusePhone:                +1-214-774-2513
      RAbuseEmail:                sales@dfw-datacenter.com
      RAbuseRef:                  http://whois.arin.net/rest/poc/DF DA-ARIN

      NetRange:                       67.222.128.0 - 67.222.159.255
      CIDR:                           67.222.128.0/19
      NetName:                        DF -DATACENTER
      NetHandle:                      NET-67-222-128-0-1
      Parent:                         NET67 (NET-67-0-0-0-0)
      NetType:                        Direct Allocation
      OriginAS:                       AS30277
      Organization:                   DF Datacenter (TMS-52)
      RegDate:                        2008-02-04
      Updated:                        2012-02-24
      Ref:                            http://whois.arin.net/rest/net/NET-67-222-128-0-1

      OrgName:                        DF Datacenter
      OrgId:                          TMS-52
      Address:                        3000 Irving Blvd
      City:                           Dallas
      StateProv:                      T
      PostalCode:                     75247
      Country:                        US
      RegDate:                        2003-08-19
      Updated:                        2012-06-05
      Ref:                            http://whois.arin.net/rest/org/TMS-52

      OrgTechHandle:                DF DA-ARIN
      OrgTechName:                  DF Datacenter
      OrgTechPhone:                 +1-214-774-2513
      OrgTechEmail:                 sales@dfw-datacenter.com
      OrgTechRef:                   http://whois.arin.net/rest/poc/DF DA-ARIN

      OrgAbuseHandle:                 DF DA-ARIN
      OrgAbuseName:                   DF Datacenter
      OrgAbusePhone:                  +1-214-774-2513
      OrgAbuseEmail:                  sales@dfw-datacenter.com
      OrgAbuseRef:                    http://whois.arin.net/rest/poc/DF DA-ARIN

      RTechHandle:              DF DA-ARIN
      RTechName:                DF Datacenter
      RTechPhone:               +1-214-774-2513
      RTechEmail:               sales@dfw-datacenter.com
https://whois.domaintools.com/67.222.143.42                                                                             2/3
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                                 67.222.143.42/67.222.143.42.tailormadeservers.com FiledWhois
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                                                                                              | DomainTools.com
      RTechRef:                 http://whois.arin.net/rest/poc/DF DA-ARIN

      RNOCHandle:             DF DA-ARIN
      RNOCName:               DF Datacenter
      RNOCPhone:              +1-214-774-2513
      RNOCEmail:              sales@dfw-datacenter.com
      RNOCRef:                http://whois.arin.net/rest/poc/DF DA-ARIN

      RAbuseHandle:               DF DA-ARIN
      RAbuseName:                 DF Datacenter
      RAbusePhone:                +1-214-774-2513
      RAbuseEmail:                sales@dfw-datacenter.com
      RAbuseRef:                  http://whois.arin.net/rest/poc/DF DA-ARIN


    Tools

     Monitor Domain Properties                                                                                          Ú

     Reverse IP Address Lookup                                                                                          Ú

     Network Tools                                                                                                      Ú




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